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 8                           UNITED STATES DISTRICT COURT

 9                          CENTRAL DISTRICT OF CALIFORNIA

10                                 SOUTHERN DIVISION

11                               April 2021 Grand Jury

12
     UNITED STATES OF AMERICA,               No. 8:21-cr-00112-JLS
13
                      Plaintiff,             I N D I C T M E N T
14
          v.                                 [18 U.S.C. § 371: Conspiracy to
15                                           Defraud the United States and to
     BRIAN JAVAADE MESHKIN,                  Solicit, Receive, Offer, and Pay
16   STEVEN SAMUEL FICHTELBERG,              Illegal Remunerations; 42 U.S.C.
     KIRT THOMAS PFAFF,                      § 1320a-7b(b)(2)(B): Offering and
17   BRUCE WALTER GARDNER,                   Paying Illegal Remunerations; 42
     DANIEL RONALD KENDALL,                  U.S.C. § 1320a-7b(b)(1)(B):
18                                           Soliciting and Receiving Illegal
     ABRAHAM ALAN CHERRICK,                  Remunerations; 18 U.S.C.
     LESTER ALAN ZUCKERMAN,                  §§ 982(a)(7) and 982(b): Criminal
19   ASSAF TZUR GORDON, and                  Forfeiture]
     OSSAMA ANTOINE JAWHAR,
20     aka “Tony,”
                     Defendants.
21

22        The Grand Jury charges:
23                             INTRODUCTORY ALLEGATIONS
24        At times relevant to this Indictment:
25 A.     THE MEDICARE AND MEDICAID PROGRAMS
26        1.   Medicare is a federal health care benefit program, affecting
27 commerce, that provides benefits to individuals who are 65 years and

28 older or disabled.      Medicare is administered by the Centers for
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 1 Medicare and Medicaid Services (“CMS”), a federal agency under the

 2 United States Department of Health and Human Services.            Medicare is a

 3 “Federal health care program” as referenced in Title 42, United States

 4 Code, Section 1320a-7b(b)(f), and a “health care benefit program” as

 5 defined by Title 18, United States Code, Section 24(b).

 6      2.    Medicare pays only for services that are “reasonable and

 7 necessary for the diagnosis or treatment of illness or injury or to

 8 improve the functioning of a malformed body member.” 42 U.S.C.

 9 § 1395y(a)(1)(A). Participating providers are required to ensure that

10 any services rendered to Medicare recipients (1) are provided

11 economically and only when, and to the extent, medically necessary,

12 (2) will be of a quality which meets professionally recognized

13 standards of health care, and (3) will be supported by evidence of

14 medical necessity. 42 U.S.C. § 1320c–5(a)(1).

15      3.    Health care providers that provide medical services that are

16 reimbursed by Medicare are referred to as Medicare “providers.”               To

17 participate in Medicare, providers are required to submit applications

18 in which the providers agree to comply with all Medicare-related laws

19 and regulations, including the Anti-Kickback Statute (42 U.S.C.

20 § 1320a-7b(b)), which proscribes the offering, payment, solicitation,

21 or receipt of any remuneration in exchange for a patient referral or

22 referral of other business for which payment may be made by any

23 federal health care program.

24      4.    The purpose of the Anti-Kickback Statute is to ensure that

25 referral decisions for federal health care programs are made solely

26 with the goal of a patient’s well-being.         Referring patients based on

27 the expectation of personal profit corrupts the health care system

28 because it encourages medical providers and others to make referral
                                            2
     Case 8:21-cr-00112-JLS Document 1 Filed 06/09/21 Page 3 of 16 Page ID #:3




 1 decision for reasons relating to personal profit rather than a

 2 patient’s best interests.      The payment of kickbacks also corrupts the

 3 health care system because they have the effect of generating business

 4 for the dishonest provider at the expense of the honest provider who

 5 refuses to pay kickbacks.

 6      5.    The federal Medicaid program (“Medicaid”) provides basic

 7 medical coverage for persons whose incomes are insufficient to meet

 8 the costs of necessary medical expenses.         Medicaid operates as a joint

 9 federal and state healthcare program using both federal and state

10 funds and is a “federal health care program” as defined in Title 42,

11 United States Code, Section 1320a-7b(f).

12 B.   THE DEFENDANTS AND BACKGROUND

13      6.    Proove Biosciences, Inc. (“Proove”) was a company

14 headquartered in Irvine, California.         Proove operated a medical

15 laboratory, Proove Medical Laboratories, Inc., also in Irvine,

16 California.

17      7.    Defendant BRIAN JAVAADE MESHKIN founded Proove Biosciences,

18 Inc. and Proove Medical Laboratories, Inc., and was the companies’

19 Chief Executive Officer.

20      8.    In approximately July 2013, Proove applied to become a

21 Medicare provider as an independent clinical laboratory.            Defendant

22 MESHKIN signed the application as the “Authorized Official.”             By

23 signing as the “Authorized Official,” defendant MESHKIN bound Proove

24 to Medicare’s laws, regulations and program instructions.            Proove was

25 subsequently approved as a Medicare provider and began billing

26 Medicare in 2014 for services dating back to 2013.

27      9.    Proove offered several pharmacogenetic tests which

28 purportedly determined a patient’s risk of abusing certain
                                            3
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 1 prescription opioids and how patients metabolized certain drugs.

 2 Proove marketed these tests primarily to physicians who specialized in

 3 pain management.

 4      10.   Defendant STEVEN SAMUEL FICHTELBERG was employed at Proove

 5 from September 2014 to October 2017, and served as Proove’s Vice

 6 President of Finance.

 7      11.   Defendant KIRT THOMAS PFAFF was employed at Proove from May

 8 2016 to October 2017, and served as Proove’s Vice President of

 9 Commercial Operations.

10      12.   Defendant BRUCE WALTER GARDNER worked at Proove from January

11 2012 until August 2015, and served in various positions, including

12 Vice President of Sales and Marketing, Vice President of Customer

13 Service and Account Management, and Vice President of Strategic

14 Operations.

15      13.   Defendants DANIEL RONALD KENDALL, ABRAHAM ALAN CHERRICK and

16 ASSAF TZUR GORDON were physicians and shareholders in Physical Medical

17 Associates, Ltd. (“PMA”), a physician group located in the

18 Commonwealth of Virginia. PMA was affiliated with National Spine and

19 Pain Center, LLC (“NSPC”), an administrative services organization.

20 PMA physicians provided medical care in Virginia at locations branded

21 as a “National Spine & Pain Center.”         Defendant LESTER ALAN ZUCKERMAN

22 was a member of NSPC’s Board of Directors and its Chief Medical

23 Officer.

24      14.   Defendant OSSAMA ANTOINE JAWHAR, also known as “Tony,”

25 operated Advanced Medical Systems, a medical sales and marketing

26 organization.    Defendant JAWHAR promoted Proove’s genetic testing to

27 physicians.    Defendant JAWHAR was later employed as a sales

28
                                            4
     Case 8:21-cr-00112-JLS Document 1 Filed 06/09/21 Page 5 of 16 Page ID #:5




 1 representative for Proove from approximately September 2016 to

 2 February 2017.

 3                                     COUNT ONE

 4                                [18 U.S.C. § 371]

 5                                 [ALL DEFENDANTS]

 6      15.   The Grand Jury re-alleges paragraphs 1 through 14 of this

 7 Indictment here.

 8 A.   OBJECTS OF THE CONSPIRACY

 9      16.   Beginning at least as early as 2013, and continuing until in

10 or around June 2017, in Orange County, within the Central District of

11 California, and elsewhere, defendants BRIAN JAVAADE MESHKIN, STEVEN

12 SAMUEL FICHTELBERG, KIRT THOMAS PFAFF, BRUCE WALTER GARDNER, DANIEL

13 RONALD KENDALL, ABRAHAM ALAN CHERRICK, LESTER ALAN ZUCKERMAN, ASSAF

14 TZUR GORDON, and OSSAMA ANTOINE JAWHAR, also known as “Tony,”

15 knowingly and intentionally conspired with each other and with others

16 known and unknown to the Grand Jury to:

17            a.     Defraud the United States by impairing, impeding,

18 obstructing, and defeating through deceitful and dishonest means, the

19 lawful government functions of the United States Department of Health

20 and Human Services in its administration and oversight of the Medicare

21 and Medicaid programs; and

22            b.     Commit certain offenses against the United States, that

23 is, violations of Title 42, United States Code, Section 1320a-

24 7b(b)(1)(B) (soliciting and receiving remunerations), and Title 42,

25 United States Code, Section 1320a-7b(b)(2)(B) (offering and paying

26 remunerations).

27

28
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 1 B.   MANNER AND MEANS OF THE CONSPIRACY

 2      17.    In furtherance of their conspiracy, and to effect its

 3 objects, defendants MESHKIN, FICHTELBERG, PFAFF, GARDNER, ZUCKERMAN,

 4 KENDALL, CHERRICK, GORDON, and JAWHAR used the following manner and

 5 means, among others:

 6             a.   Defendant MESHKIN devised and implemented a scheme to

 7 induce physicians to order Proove’s genetic tests for Medicare and

 8 Medicaid beneficiaries by paying physicians a bribe or kickback in the

 9 amount of approximately $100 to $150 for each test that physicians

10 ordered.

11             b.   Defendants MESHKIN, GARDNER, and JAWHAR marketed

12 Proove’s genetic tests to physicians using the kickback or bribe as a

13 financial incentive for physicians to order the tests.

14             c.   To conceal the true nature of the bribes and kickbacks,

15 defendants MESHKIN, FICHTELBERG, PFAFF, GARDNER, KENDALL, CHERRICK,

16 ZUCKERMAN, GORDON, and JAWHAR falsely characterized the payments as

17 clinical research fees.      As a part of the scheme, Proove employees

18 completed clinical research forms that were supposedly being completed

19 by the physicians, and physicians signed falsified time sheets

20 overstating the amount of time that the physicians spent working on

21 anything related to Proove’s genetic testing or any related clinical

22 research.

23             d.   As a part of the scheme, defendants MESHKIN,

24 FICHTELBERG, and PFAFF leveraged outstanding kickback payments owed to

25 physicians to demand that physicians order more tests.            Likewise, when

26 Proove’s kickback payments were delayed, doctors, including defendants

27 KENDALL and CHERRICK, demanded that Proove pay them before they would

28 order more tests.     For example, as NSPC’s Chief Medical Officer,
                                            6
     Case 8:21-cr-00112-JLS Document 1 Filed 06/09/21 Page 7 of 16 Page ID #:7




 1 defendant ZUCKERMAN directed that NSPC would not offer Proove’s

 2 genetic tests to patients at certain NSPC medical practices unless

 3 NSPC was paid the kickbacks for the “clinical research” that NSPC’s

 4 physicians had supposedly completed.          This rendered the payment of the

 5 kickback, and not medical necessity, as the single overriding factor

 6 in the determination of whether certain NSPC patients were offered

 7 Proove’s genetic tests.

 8             e.   Under defendant MESHKIN’s supervision, and with the

 9 help of defendants FICHTELBERG and PFAFF, doctors were given letter

10 grades (A, B, C, etc.) based upon whether they were still actively

11 ordering tests and had patients left in their office who could be

12 tested.   Doctors who were actively ordering tests and were willing to

13 order even more were given “A” or “A+” grades.          Doctors who had

14 stopped ordering or had tested all their patients were considered

15 “inactive” and given lower grades.           Doctors who received “A” or “A+”

16 grades were paid promptly to ensure that they continued to order more

17 tests.    Payments to doctors with lower grades were delayed or never

18 made at all.

19             f.   Using the manner and means described above, and at the

20 direction of defendant MESHKIN, Proove submitted approximately $45

21 million in claims to Medicare for genetic tests that were tainted by

22 illegal kickbacks.     Between 2013 and 2017, Medicare paid Proove

23 approximately $20 million.       From 2013 to 2017, Proove paid doctors at

24 least $3.5 million in kickbacks to induce them to order Proove’s

25 genetic tests.    Using the same manner and means, Proove submitted over

26 $1 million in claims to the Ohio Medicaid program administered by the

27 Ohio Department of Medicaid that resulted in Proove being paid

28 approximately $171,268.45.
                                            7
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 1             g.    Defendants KENDALL, CHERRICK, GORDON, and ZUCKERMAN

 2 promoted Proove’s genetic testing at NSPC over genetic tests offered

 3 by other companies based upon the kickbacks that NSPC received from

 4 Proove.    Physicians at NSPC ordered Proove genetics tests that caused

 5 Proove to submit approximately $4.5 million in Medicare claims.

 6 Medicare paid Proove a total of approximately $4 million for those

 7 claims.    Proove, at defendant MESHKIN’s direction, paid physicians at

 8 NSPC a total of $1.1 million in kickbacks.

 9 C.   OVERT ACTS

10      18.    On or about the following dates, in furtherance of the

11 conspiracy and to effect and accomplish the objects thereof,

12 defendants MESHKIN, FICHTELBERG, PFAFF, GARDNER, KENDALL, CHERRICK,

13 ZUCKERMAN, GORDON, and JAWHAR, and others known and unknown to the

14 Grand Jury, committed the following overt acts, among others, within

15 the Central District of California and elsewhere:

16      Overt Act No. 1:      On or about July 8, 2013, defendant MESHKIN met

17 with two medical marketers, one of whom was cooperating with law

18 enforcement.     Defendant MESHKIN explained how he intended to pay

19 doctors clinical research fees to promote Proove’s genetic tests.

20 Defendant MESHKIN acknowledged that there were competitors but that,

21 “off the record, we [Proove] pay the doctors more.”

22      Overt Act No. 2:      On or about February 25, 2014, defendant

23 GARDNER met with a medical professional and explained that to receive

24 the $150 kickback in the form of a clinical research fee, physicians

25 only needed to order one of Proove’s tests.          Defendant GARDNER said,

26 “if you strip it all away, all you have to do is order the test.              Now

27 whether you take the test report and throw it in the trash or never

28 use it, that’s not up to us.”
                                            8
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 1       Overt Act No. 3:     In or about September 2013, defendant KENDALL

 2 spoke with a Proove representative about Proove’s genetic testing and

 3 the potential kickbacks for physicians at NSPC.           Defendant KENDALL

 4 took notes of the meeting which stated, “Proove Biosciences

 5 $300/patient profit - $150/test for 2 tests/patient.            Calculated as

 6 $150/hour/test.”     In his notes, defendant KENDALL calculated the

 7 possible financial upside to NSPC at $8.64 million per year.

 8       Overt Act No. 4:     On February 28, 2014, defendant KENDALL sent an

 9 email within NSPC which said, “It seems like most genetics companies

10 are trying to jump on Proove’s bandwagon with the ‘studies’.             Even the

11 one I trialed here in house . . . with 25 pts just email me stating we

12 will pay you 75 bucks for every patient over 65.           Same thing from

13 another company . . . .      It looks like this study protocol is through

14 most of them to be competitive.        Proove still pays more.      (300) 150 x

15 2.”

16       Overt Act No. 5:     On March 6, 2014, defendant KENDALL emailed

17 defendants GORDON and ZUCKERMAN, and another individual, “[Another

18 genetics testing company] is doing a similar study as well that they

19 contacted me on, however it was only 75 bucks per case.            I still like

20 Proove since theyre [sic] studies can be done on Medicare, and all

21 Federal Programs, and any payer that we see fit and pay us 300

22 (150x2).   I like [competing medical marketer], but I think hes behind

23 a few bucks on this one.”

24       Overt Act No. 6:     On April 25, 2014, defendant GORDON emailed

25 defendants MESHKIN and KENDALL to recommend to defendant MESHKIN that

26 Proove recruit defendant CHERRICK to promote Proove.            Defendant GORDON

27 encouraged defendant MESHKIN to purchase defendant CHERRICK some

28 “great” Washington Nationals baseball tickets.
                                            9
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 1       Overt Act No. 7:      On September 17, 2014, defendant KENDALL

 2 emailed defendants GORDON, JAWHAR, and CHERRICK that he had been

 3 averaging 10-12 patients per day and that participating in Proove’s

 4 supposed clinical research program had “not affected productivity.”

 5       Overt Act No. 8:      On October 21, 2014, defendant KENDALL sent an

 6 email to defendant MESHKIN asking defendant MESHKIN to increase the

 7 kickbacks to NSPC doctors to “motivate” them to order Proove’s tests

 8 and participate in the sham clinical research program.

 9       Overt Act No. 9:      On October 29, 2014, defendant KENDALL emailed

10 defendant MESHKIN, “[D]o you think you will be able to get the number

11 up a bit?     (from 100 to 125)     The reason is the doctors only get 35%

12 of their collections and the rest goes to the company . . . so each

13 dollar will count to motivate the participation.”

14       Overt Act No. 10:      On March 20, 2015, defendant KENDALL emailed

15 defendant GORDON and others at NSPC advocating for the expansion of

16 Proove testing at NSPC instead of a competing proposal to open an in-

17 house genetic testing lab.        Defendant KENDALL emphasized that the

18 Proove testing could “definitely bring a couple million to the bottom

19 line.”    Defendant GORDON responded there was “no effort” involved with

20 Proove.    Defendant GORDON stated, “This is a perfect case of – Pigs

21 gets fat, hogs get slaughtered . . . go with proove.”

22       Overt Act No. 11:      On May 11, 2015, defendant KENDALL emailed

23 numerous other physicians at NSPC to promote Proove.            Defendant

24 KENDALL explained that his day to day routine had “not been affected

25 in any way,” and that he was collecting “10k a month” from Proove.

26       Overt Act No. 12:      On or about approximately December 16, 2015,

27 defendant CHERRICK sent the following message to defendant JAWHAR, “I

28 have been waiting to get paid for ad[visory] board from two months
                                            10
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 1 ago[.]    Please check into this . . . .        As of Monday I am stopping all

 2 tests until this gets resolved[.]”

 3       Overt Act No. 13:      On January 21, 2016, a Proove employee emailed

 4 defendant CHERRICK, “We really just need NSPC doctors to test more

 5 patients to be candid.       I’m hearing that most of the NSPC providers

 6 are sending very few patients . . . .          With all the new clinics we’ve

 7 added our numbers have not really grown.”          Defendant CHERRICK

 8 responded, “Ok, I will talk with les Zuckerman.            Bring it up on our

 9 next board meeting[.]”

10       Overt Act No. 14:      On February 19, 2016, defendant KENDALL

11 emailed defendants ZUCKERMAN and GORDON, and others, that NSPC should

12 consider halting Proove testing for a week as a “warning shot” to

13 Proove for being behind in its payments to NSPC.            Defendant ZUCKERMAN

14 responded, “the ‘warning shot’ I’d suggest right now is that we don’t

15 allow Proove to place research assistants in additional sites . . . at

16 least until they have caught up payments through the end of ’15.”

17       Overt Act No. 15:      On or about February 8, 2016, defendant

18 KENDALL emailed defendant JAWHAR and others about Proove’s failure to

19 pay NSPC, “Im not sure what is going on, but this is an embarrassment

20 that our company has not been paid.           I received my last qtr statement,

21 so Oct through Dec WITHOUT payments?          Seriously??    Our whole company?

22 Is this a joke?      Im sticking up for the company and this SHIT is going

23 on?   WHAT THE HELL IS WRONG WITH PROOVE?         If they were one month

24 behind, I would have expected to be in the loop, I will kick everyones

25 ass out of the company that works for Proove today if I don’t get an

26 answer.”

27       Overt Act No. 16:      On or about March 15, 2016, defendant MESHKIN

28 emailed representatives of NSPC:         “Thanks for the email.      We need your
                                            11
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 1 help.    Please look into the issue of volume.         We get a ton of emails

 2 about payment from you guys, but your volume keeps going down.              It’s

 3 down 50% from last month. . . . .         [A] 50% reduction in volume is

 4 completely unacceptable from our standpoint.           I would expect with more

 5 sites coming on line, and more investment in staffing and supplies

 6 from Proove, that it would result in higher volume – not lower volume

 7 from NSPC.     If we could spend a little more time working on

 8 performance and volume, everything would work more effectively.”

 9         Overt Act No. 17:    On June 16, 2016, defendant PFAFF received an

10 email requesting payment from a doctor who indicated that he [the

11 doctor] would continue testing with Proove if he received his payment.

12 Defendant PFAFF forwarded the email to defendant FICHTELBERG, who

13 responded, “Get the physicians ordering history.            That will inform the

14 discussion.”

15         Overt Act No. 18:    On January 6, 2017, defendant PFAFF emailed

16 defendants FICHTELBERG and MESHKIN, “I have had more than a handful of

17 accounts stop doing profiles until compensation is made . . . multiple

18 clinicians are refusing to order until they get compensated . . . .”

19         Overt Act No. 19:    On January 8, 2017, defendant PFAFF emailed

20 defendant MESHKIN, “Just a heads up . . . First week of January the

21 volume is really low. . . .        Many clinics are not writing until

22 payments are made.”

23         Overt Act Nos. 20 through 39:      The kickback transactions charged

24 in Counts Two through Twenty-One of this Indictment are also alleged

25 as overt acts in furtherance of the conspiracy.

26

27

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                                            12
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 1                             COUNTS TWO THROUGH ELEVEN

 2               [42 U.S.C. § 1320a-7b(b)(2)(B); 18 U.S.C. § 2(a)]

 3             [DEFENDANTS MESHKIN, FICHTELBERG, PFAFF, AND JAWHAR]

 4       19.    The Grand Jury re-alleges paragraphs 1 through 15 and 17

 5 through 18 of this Indictment here.

 6       20.    On or about the dates specified below, in the Central

 7 District of California, and elsewhere, defendants            BRIAN JAVAADE

 8 MESHKIN, STEVEN SAMUEL FICHTELBERG, KIRT THOMAS PFAFF, and OSSAMA

 9 ANTOINE JAWHAR, also known as “Tony,” knowingly and willfully offered

10 and paid remuneration (including kickbacks and bribes), directly and

11 indirectly, overtly and covertly, in cash and in kind, in the

12 following amounts and using the check numbers specified below, issued

13 by Proove Biosciences, Inc. and payable to Physician Medical

14 Associates, c/o National Spine and Pain Centers, to induce such

15 persons to order a service for which payment may be made in whole or

16 in part under Medicare, a Federal health care program:

17
                     Count      Check No.          Date          Amount
18                            012092
               TWO                               06/21/16   $81,075.73
19                            012347
               THREE                             07/22/16   $83,134.71
20
               FOUR           012622             08/18/16   $94,110.60
21
               FIVE           012768             8/30/16    $1,363.32
22
               SIX            012915             9/16/16    $78,772.42
23
               SEVEN          013054             9/30/16    $959.98
24
               EIGHT          013283             10/28/16   $96,039.02
25
               NINE           013565             12/1/16    $109,535.62
26
               TEN            014046             2/17/17    $356.66
27
               ELEVEN         014148             3/3/17     $1,236.66
28
                                            13
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                            COUNTS TWELVE THROUGH TWENTY-ONE
 1
                  [42 U.S.C. § 1320a-7b(b)(1)(B); 18 U.S.C. § 2(a)]
 2
                [DEFENDANTS KENDALL, CHERRICK, ZUCKERMAN, AND GORDON]
 3
          21.    The Grand Jury re-alleges paragraphs 1 through 15 and 17
 4
     through 18 of this Indictment here.
 5
          22.    On or about the dates specified below, in the Central
 6
     District of California, and elsewhere, defendants DANIEL RONALD
 7
     KENDALL, ABRAHAM ALAN CHERRICK, LESTER ALAN ZUCKERMAN, and ASSAF TZUR
 8
     GORDON knowingly and willfully solicited and received remuneration
 9
     (including kickbacks and bribes), directly and indirectly, overtly and
10
     covertly, in cash and in kind, in the following amounts and using the
11
     check numbers specified below, issued by Proove Biosciences, Inc. and
12
     payable to Physician Medical Associates, c/o National Spine and Pain
13
     Centers, in return for ordering a service for which payment may be
14
     made in whole or in part under Medicare, a Federal health care
15
     program:
16
                     Count        Check No.         Date         Amount
17
                TWELVE            012092         6/21/16      $81,075.73
18
                THIRTEEN          012347         7/22/16      $83,134.71
19
                FOURTEEN          012622         8/18/16      $94,110.60
20
                FIFTEEN           012768         8/30/16      $1,363.32
21
                SIXTEEN           012915         9/16/16      78,772.42
22
                SEVENTEEN         013054         9/30/16      $959.98
23
                EIGHTEEN          013283         10/28/16     $96,039.02
24
                NINETEEN          013565         12/1/16      $109,535.62
25
                TWENTY            014046         2/17/17      $356.66
26

27              TWENTY-ONE        014148         3/3/17       $1,236.66

28
                                            14
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                                FORFEITURE ALLEGATIONS
 1
                           [18 U.S.C. §§ 982(a)(7), 982(b)]
 2
           23.   The Grand Jury re-alleges paragraphs 1 through 22 of this
 3
     Indictment here for purposes of seeking forfeiture from defendants
 4
     pursuant to Title 18, United States Code, Sections 982(a)(7) and 982(b).
 5
           24.   Upon conviction of any of the offenses set forth in Counts One
 6
     through Twenty-One, defendants shall forfeit to the United States all
 7
     property, real and personal, that constitutes or is derived, directly
 8
     or indirectly, from gross proceeds traceable to the offense.
 9
           25.   If any of the property described above, as a result of any act
10
     or omission of the defendants:
11
                 a.   cannot be located upon the exercise of due diligence;
12
                 b.   has been transferred or sold to, or deposited with, a
13
     third party;
14
                 c.   has been placed beyond the jurisdiction of the court;
15
                 d.   has been substantially diminished in value; or
16
                 e.   has been commingled with other property which cannot be
17
     divided without difficulty,
18
           the United States of America shall be entitled to forfeiture of
19
     substitute property pursuant to Title 21, United States Code, Section
20
     ///
21
     ///
22

23 ///

24 ///

25 ///

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